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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                      CRIMINAL NO. 19-060

 VERSUS                                                        SECTION “D”
                                                               JUDGE WENDY VITTER
 IMAD FAIEZ HAMDAN a/k/a Eddie
 ZIAD ODEH MOUSA a/k/a Z                                       MAGISTRATE (4)

               MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
               COUNTS 2 THROUGH 72 OF INDICTMENT; RULE 12(b)

MAY IT PLEASE THE COURT:

       Counts 2 through 72 of the Indictment alleging a conspiracy to defraud the United States,

(Count 2), and failure to withhold and pay over employment taxes, (Counts 3 – 50), and aiding in

the preparation of others’ false tax returns, (Counts 51 – 72), are completely undermined by the

fact that Mr. Hamdan overpaid his personal income taxes to such a considerable extent that the

federal government actually owes him money, due to an offset and credit per statutory law and

equity. Brothers Petroleum accounted for salaries and bonuses paid in cash as a distributions to

Mr. Hamdan, who in turn paid taxes on the distributions at his much higher individual tax rate,

resulting in a substantial overpayment to the government. It is this “central management system”

by Mr. Hamdan and Mr. Mousa that the government alleges constitutes a conspiracy to defraud

the United States. The government has thereby received an inequitable and unfair windfall, and

caused Mr. Hamdan and Mr. Mousa substantial loss. Under these circumstances, the government

cannot establish the requisite criminal intent in any of Counts 2 through 72, and any violations of

law and proof of statutory elements, because of the overpayment and corresponding credit offset,

and amount due back to Mr. Hamdan. The government must be estopped from claiming Mr.

Hamdan and Mr. Mousa owe taxes to the government. The government cannot as a matter of law
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prove the essential elements of the tax offenses charged, and, as a result, Counts 2 through 72 must

be dismissed.

                                  FACTS & ALLEGATIONS

I.     The Indictment: Counts 2 Through 72

       The Indictment alleges that Mr. Hamdan and Mr. Mousa owned and operated more than

thirty food stores, convenience stores, and gas stations that operated under the name “Brothers

Food Mart” in the State of Louisiana. (Rec. Doc. #1, Page 1-2), and operated all of the Brothers

Food Mart locations - each specific business entities - under a central management system. (Id., at

Page 2). “The books and records for each store were created and maintained” at the company’s

central offices in Gretna and Harvey, id., by the company’s bookkeeper, who was responsible for

accounting for cash payments to managers and other employees.

       Count 2 entitled, “Conspiracy to Defraud the United States,” alleges that, beginning at a

time unknown to the Grand Jury, but not later than July 2009, and continuing through December

2015, Mr. Hamdan and Mr. Mousa “unlawfully, voluntarily, intentionally, and knowingly did

conspire, combine, confederate, and agree together and with each other to defraud the United

States for the purpose of impeding, impairing, obstructing, and defeating the lawful government

functions of the IRS in the ascertainment, computation, assessment, and collection of federal

income taxes and employment taxes.” (Rec. Doc. #1, Page 8). The Indictment further alleges “the

purpose and object of the conspiracy was for the defendants and co-conspirators to unjustly enrich

themselves and others by under-reporting wages paid to employees of Brothers Food Mart and to

avoid the assessment and payment of employment taxes…” (Id., at Page 9) (emphasis added). As

manner and means to carry out this alleged conspiracy, the Government claims Mr. Hamdan and

Mr. Mousa hired managers to operate various locations of Brothers Food Mart and paid part of



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their salaries in cash, which payments were not reported. It is further alleged that Mr. Hamdan

and Mr. Mousa directed those managers to hire undocumented workers, who were also paid in

cash and, likewise, those payments were not reported. (Id., at Pages 8-9).

        Substantive Counts 3 through 50, entitled, “Failure to Withhold, Account for, and Pay

Over,” allege that from the first quarter of 2012, through the fourth quarter of 2013, Mr. Hamdan

and Mr. Mousa “did willfully fail to truthfully account for, collect, and pay over to the IRS the

following trust fund taxes due and owing to the United States of America on behalf of the

employees of Brothers Food Mart entity for each quarter…with each calendar quarter constituting

a separate count of this Indictment...” (Id., ¶55.)

        Substantive Counts 51 through 72, allege that Mr. Hamdan and Mr. Mousa “did willfully

aid and assist in, and procure, counsel and advise the preparation and presentation to the IRS U.S.

Individual Income Tax Returns, IRS Forms 1040 and 1040A...which tax returns were false and

fraudulent as to material matters…” (Id., ¶57.) It is assumed that the taxpayers in these counts

were store managers.

II.     Defendants’ Overpayment of Income Taxes

        Accepting as true, for purpose of the motion, the allegations in the Indictment and that Mr.

Hamdan and Mr. Mousa owned and operated certain of the Brothers Food Mart locations under a

central management system, statutory law, fundamental fairness and equity require a consideration

of Mr. Hamdan’s whole tax accounting picture during the tax years in the Indictment.

        Defendants have been seeking discovery from the government of the pertinent amounts of

underpayment of employment and income taxes, for purposes of the Count 2 conspiracy to defeat

taxes, the substantive failure to collect and pay such employment taxes, Counts 3-50, and the

substantive aiding and assisting in the false returns and underpayment of income taxes by



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managers of the companies, as well as discovery on any government evidence or calculation for

the corresponding amount of overpayment by Mr. Hamdan on his personal income taxes. This

discovery has not been concluded and is ongoing. Until there is definitive production, discovery

and calculation of these amounts, the following facts are not in dispute and have been partially

provided to the government, as follows.

       It is an accounting fact that, for the years 2009 – 2014, Mr. Hamdan overpaid his federal

income taxes in the gross amount of $5,222,675. The government has not provided any discovery

or evidence that this amount is incorrect. Prior to the Indictment, in a letter, dated September 4,

2018, the government claimed that the amount of tax underpayment or loss was $3,419,539.

Consequently, and contrary to the theory of the government’s case, the net result is that Mr.

Hamdan overpaid his federal income taxes, on his Form 1040 for the years in the Indictment. By

operation of law, Mr. Hamdan is owed a $5,222,675, offset and credit, and net pay back of

$1,803.136, for overpayment of personal income taxes. In effect, by filing company LLC’s and

pass-through returns and Mr. Hamdan’s 1040 returns, as actually done, Mr. Hamdan paid to the

government $1,803,136 more than he underpaid or did not collect, account and pay over for

employment taxes, FICA, and the amounts of false returns in Counts 51 – 72. Thus, even if the

charged conduct involves a tax loss of $3,419,539 related to the failure to collect and pay over

employment taxes, as the government has alleged, after offset and credit, the Internal Revenue

Service still owes Mr. Hamdan more than $1.8 million. This net overpayment was based on the

highest tax rates for certain low-income employees, so the overpayment would be even more if

their expected filing status of married and/or with dependents been used. Again, the government

has not provided any discovery or evidence contrary to these calculations.




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                                               AUTHORITIES

    I.       Setoff Occurs By Operation of Law and Shields Defendants From All Criminal
             Responsibility in Counts 2 Through 72

         In the case of any overpayment of tax, 26 U.S.C. § 6402, authorizes the IRS to apply the

amount of any tax overpayment to a number of taxpayer obligations, and requires the IRS, subject

to certain exceptions, to credit and offset any balance due by the person who made the tax

overpayment. Specifically, Part (a) of that statute, entitled “Authority to make credits or refunds”,

provides, in pertinent part:

         (a) General rule.--In the case of any overpayment, the Secretary, within the applicable
             period of limitations, may credit the amount of such overpayment, including any
             interest allowed thereon, against any liability in respect of an internal revenue tax on
             the part of the person who made the overpayment and shall, subject to subsections (c),
             (d), (e), and (f), refund any balance to such person. (Emphasis added.)

         Subsections (c), (d), (e), and (f) enumerate the various taxpayer obligations that may be

offset by an overpayment and provide guidelines and restrictions for doing so, which do not restrict

Mr. Hamdan’s and Mr. Mousa’s rights to claim setoff in this case. Taking those subsections

together with subsection (a), it is clear the IRS can apply the amount of any overpayment (and

interest due thereon) to the following taxpayer obligations, including:

         1. the taxpayer’s federal tax liability;1
         2. any past due support;2
         3. the collection of debts owed to federal agencies;3
         4. past due and enforceable state income tax obligations.4 (Emphasis added.)




1
   26 U.S.C. § 6402 (a).
2
  26 U.S.C. § 6402 (c) support is defined by reference to section 464(c) of the Social Security Act.
3
   26 U.S.C. § 6402 (d);26 U.S.C. § 6402(g) Federal agency.—For purposes of this section, the term “Federal
agency” means a department, agency, or instrumentality of the United States, and includes a Government
corporation (as such term is defined in section 103 of Title 5, United States Code).
4
  26 U.S.C. § 6402 (e)


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       Applying Subsection (a) of Section 6402 to the instant case, the Secretary must credit Mr.

Hamdan’s overpayment against the alleged tax liability in the Indictment, and reduce it to zero

dollars. Even after doing so, there would be a balance due back to Mr. Hamdan. According to the

face of this statute, the credit or offset executes by operation of law and equity, whether or not Mr.

Hamdan claims a refund under 26 U.S.C. 6511. There is no condition or requirement in this statute

that the taxpayer must file for a refund under 26 U.S.C. 6511, in order to receive a credit or offset.

Further, the definition of “overpayment,” in 26 U.S.C. 6401, specifies that it includes “the amount

of the payment of any internal revenue tax which is assessed or collected after the expiration of

the period of limitation properly applicable thereto,” and for application under 26 U.S.C. 6402,

and would include the equitable balancing for credits and offsets after any period to collect refunds.

       Even if Mr. Hamdan were to file a claim for refund under 26 U.S.C. 6511, his claim would

nonetheless be timely, at least for tax periods 2012 and 2014 (Mr. Hamdan did not overpay in

2013) and possibly even 2011 as well. The period of limitations for filing a claim for refund, under

26 U.S.C. § 6511, is three years from the time the return was filed or two years from the time the

tax was paid, whichever of such periods expires later. 26 U.S.C. § 6511(a). Mr. Hamdan filed his

tax returns for 2012 and 2014 on October 15, 2013 and October 15, 2015, respectively.

Subsequently, Mr. Hamdan, through his CPA, provided informal notice to the IRS of all

overpayments from 2009 through 2014, including those in 2012 and 2014, when his CPA met with

IRS agents in November 2015. This initial meeting commenced a series of subsequent meetings

and discussions in which the IRS investigated, and Mr. Hamdan’s CPA corroborated, the

existence, amount, and nature of Mr. Hamdan’s overpayments of income taxes during those years.

The November 2015 meeting with IRS agents is well within the three-year limitations period that

commenced with the filings of Mr. Hamdan’s 2012 tax return on October 15, 2013 and 2014 tax



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return on October 15, 2015. The Fifth Circuit has recognized that such informal communications

are sufficient to interrupt the three year period of limitations for claiming refunds under Section

6511.5 Even assuming for the sake of argument that an offset claim for 2011 would not be timely,

Mr. Hamdan’s income tax overpayments in 2012 and 2014, and the resulting statutory offsets, are

more than sufficient to satisfy and extinguish any employment tax debt that Brothers Petroleum

might owe under Counts 2 through 72. All offsets from 2011 through 2014 occurred by operation

of law, pursuant to 26 U.S.C. § 6402, as discussed above, and as will be discussed further below,

Mr. Hamdan and Mr. Mousa are also entitled to raise setoff as a defense under principles of equity,

unjust enrichment and fundamental fairness, none of which have any applicable period of

limitations.

         Following the November 2015 meeting, agents and Counsel for Mr. Hamdan, on numerous

occasions, by letter and in discussions with the government, notified the government of the above

overpayment, and amount of credits and offsets due as a result thereof, as against taxes claimed by

the government, and provided an expert witness and evidence in support. The government has

never shown that the information and calculations were inaccurate. According to the government’s




5
  In PALA, Inc. Employees Profit Sharing Plan & Tr. Agreement v. United States, 234 F.3d 873, 877 (5th Cir. 2000),
the Fifth Circuit noted that oral communications may constitute an “informal claim” sufficient to interrupt the three
year period of limitations under Section 6511, providing:

         … the informal claim doctrine has received the endorsement of the Supreme Court.[Citations
         Omitted] According to this doctrine, an informal claim is sufficient if it is filed within the statutory
         period, puts the IRS on notice that the taxpayer believes an erroneous tax has been assessed, and
         describes the tax and year with sufficient particularity to allow the IRS to undertake an
         investigation.[Citations omitted] Although an informal claim may include oral communications, it
         must have a written component.[Citations omitted]. There are no “hard and fast rules” for
         determining the sufficiency of an informal claim, and each case must be decided on its own facts “
         ‘with a view towards determining whether under those facts the Commissioner knew, or should
         have known, that a claim was being made.’ [Citations omitted]. (Emphasis added).

In the instant case, as explained herein, there were both oral communications (i.e. meetings between the Mr. Hamdan’s
agents/counsel and the IRS) as well as written documents exchanged between the parties (i.e. tax returns, schedules,
demand letters, etc.)

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said formal demand letter, dated September 4, 2018, and apparently well before, the government

believed that Mr. Hamdan owed criminal tax losses in the amount of $3,419,539, for violation of

18 U.S.C. 371, which is clear notice on the part of the government that it believed the tax debt was

owed. At that point, according to 26 U.S.C. 6402(d), the government had an obligation to apply

the overpayment to the amount the government claimed was due, $3,419,539, and “reduce the

amount of any overpayment payable to” Mr. Hamdan, thereby satisfying the alleged debt to the

government, $3,419,539, and even more so. 26 U.S.C. 6402(d), thus, mandates that the Secretary

of the Treasury offset federal debt owed to federal agencies, e.g. the IRS, and then notify the

taxpayer of the offset. This subsection requires the IRS to take these steps “upon receiving notice

from any Federal agency that a named person owes a past-due legally enforceable debt.” Applying

concurrently, Subsection (a) of 31 U.S.C. § 3720A(a), provides:

       Any Federal agency [the IRS] that is owed by a person a past-due, legally enforceable debt
       [$3,419,539.00] (including debt administered by a third party acting as an agent for the
       Federal Government) shall, and any agency subject to section 9 of the Act of May 18, 1933
       (16 U.S.C. 831h), owed such a debt may, in accordance with regulations issued pursuant
       to subsections (b) and (d), notify the Secretary of the Treasury at least once each year of
       the amount of such debt. (Emphasis added.)

       Read together, 26 U.S.C. 6402(d) and 31 U.S.C. § 3720A(a), mandate that the IRS, as a

federal agency according to the Indictment (Paragraph 17 of Rec. Doc. #1), notify the Secretary of

the Treasury every year of the amount allegedly owed by the Mr. Hamdan and Mr. Mousa in

employment taxes. And, upon receiving such notice, the Secretary of Treasury must reduce that

underpayment by the overpayment in income taxes, or, conversely, the overpayment by the

underpayment. If those steps were carried out, as required, the government would owe Mr.

Hamdan a refund of any balance remaining, pursuant to 26 U.S.C. 6402(a), which, in this case, is

$1,803,136, by operation of law.




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         In short, once the IRS became aware of the tax allegedly due by Mr. Hamdan, which it had

been for multiple years, and an overpayment was claimed, it was obligated to apply the

overpayment against the underpayment, or debt, but not keep the balance, as it is doing, which

would be unfair. The IRS was obligated to refund any balance owed to Mr. Hamdan, rather than

keep that amount as it continues to do. There is no requirement in this statute that Mr. Hamdan

must have first applied for a credit or refund under 26 U.S.C. 6511, and within the time limitations

therein, although, as discussed above, that time period was interrupted in November, 2015.

         There are numerous cases in which federal courts recognized the operation of these

principles and, specifically, wherein the IRS applied overpayments to outstanding tax liabilities

and assessed tax penalties, over the objections of taxpayers.6 The court in In re Shortt, 277 B.R.

683, 690–91 (Bankr. N.D. Tex. 2002), explained that “all agencies of the federal government are

treated as a single entity for purposes of setoff.”7 Although In re Shortt occurred in the bankruptcy

context, as the Ninth Circuit noted:

         “[t]he Supreme Court clearly adopted the unitary setoff rule for government
         agencies in the nonbankruptcy context in Cherry Cotton Mills v. United States, 327
         U.S. 536, 105 Ct.Cl. 824, 66 S.Ct. 729, 90 L.Ed. 835 (1946). There, it permitted
         money owed to a debtor in back taxes by the Department of the Treasury to be used
         to offset a defaulted loan owed by the debtor to the Reconstruction Finance
         Corporation. Id. at 538, 66 S.Ct. at 729. For purposes of setoff, the Court held that
         all agencies of the United States government are treated as one unit. Id. at 539, 66
         S.Ct. at 730.” (Emphasis added).




6
  See e.g.: Beloff v. Commissioner, 996 F.2d 607 (2nd Cir. 1993); In re Shortt, 277 B.R. 683 (Bankr. N.D. Tex. 2002); In
re Jones, Bkrtcy.M.D.Ga.2006, 359 B.R. 837; Fulgoni v. United States, 23 Cl. Ct. 119, 126 (1991) (where IRS used an
overpayment to pay off assessed interest and penalty, the court held “[t]here is no express statutory requirement
that the IRS make notice and demand for payment upon the taxpayer before collecting unpaid tax by
administrative offset”); In re Donley, 242 F. Supp. 403, 407 (E.D. Mo. 1965) (“…a penalty, and interest, are
embraced within the phrase ‘any liability in respect of an internal revenue tax’, as found in Section 6402 (a))
7
  In re Shortt, 277 B.R. 683, 690–91 (Bankr. N.D. Tex. 2002) citing e.g., United States v. Maxwell, 157 F.3d 1099,
1102 (7th Cir.1998); HAL, Inc. v. United States (In re HAL, Inc.), 122 F.3d 851, 853 (9th Cir.1997); Turner v. SBA
(In re Turner), 84 F.3d 1294, 1299 (10th Cir.1996).

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In re Hal, Inc., 122 F.3d 851, 853 (9th Cir. 1997). With this unitary setoff principle in mind, it is

understandable why courts are so willing to recognize the operation of setoff in the event a tax

underpayment and overpayment occur in the same period. Put simply, all the money goes to the

same place – “a single governmental unit.”8 Thus, the impact on the government from a taxpayer’s

underpayment in the same period as an overpayment, in the same amount, is negligible and should

trigger only the setoff procedure to take place, not the filing of a criminal indictment.

         Mr. Hamdan and Mr. Mousa acknowledge that 26 U.S.C. 7202, and 7203, criminalize the

willful failure to collect and pay over employment taxes. However, they are unaware of, and

unable to find, a single criminal case filed against a taxpayer, who owed no tax and was actually

entitled to a credit and payback, let alone one that resulted in a conviction. On the other hand,

there are numerous civil cases wherein taxpayers were simply assessed civil penalties for the

failure to pay employment taxes,9 and even cases in which a setoff shielded the taxpayer from the

assessment of civil penalties.

         For instance, in Emery Celli Cuti Brinckerhoff & Abady, P.C. v. Comm'r of Internal

Revenue, 115 T.C.M. (CCH) 1267, 2018 WL 1936122 (T.C. 2018), a corporate taxpayer sought


8
  In re Shortt, 277 B.R. 683, 690–91 (Bankr. N.D. Tex. 2002) (“for purposes of setoff under § 553, the agencies of
the United States constitute a single ‘governmental unit ...,’ ”). That In re Shortt occurred in the bankruptcy context
does not distinguish it from the setoff at issue here. See: In re Hal, Inc., 122 F.3d 851, 852 (9th Cir. 1997)
providing:

          The Bankruptcy Code does not create a right to setoff; it merely preserves the right already given
          in a nonbankruptcy context. Citizens Bank of Maryland v. Strumpf, 516 U.S. 16, 116 S.Ct. 286,
          133 L.Ed.2d 258 (1995). If a party is generally entitled to setoff in the nonbankruptcy context, it is
          entitled to one under the Bankruptcy Code.
9
  See e.g.: East Wind Industries, Inc. v. U.S., 196 F.3d 499 (1999) (where taxpayers were assessed penalties for
failure to pay employment taxes, but Third Circuit found taxpayers had reasonable cause for their nonpayment of
trust fund taxes, and were thus entitled to abatement of penalties); Q.E.D., Inc. v. U.S., 55 Fed.Cl. 140 (2003)
(where corporate taxpayer filed suit against the United States to recover penalties imposed by the Internal Revenue
Service (IRS) and government filed counterclaim seeking penalties for unpaid employment taxes that were assessed
against plaintiff, court held no reasonable cause for failure to pay taxes); Custom Stairs & Trim, Ltd., Inc. v. C.I.R.,
T.C. Memo. 2011-155 (2011), 102 T.C.M. (CCH) 1, 2011 WL 2636260 (T.C. 2011); Stevens Technologies, Inc. v.
C.I.R., T.C. Memo. 2014-13 (2014)


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review of the IRS’s determination to sustain proposed levy to collect unpaid employment tax,

interest, additions to tax, and penalties for the failure to pay employment taxes during the first

quarter of 1999. Specifically, Emery PC's employment tax deposits had been remitted under the

Employer Identification Number of another entity, Emery LLP, which had previously been the

entity through which the law firm conducted its operations. The result was that Emery PC had

failed to pay employment taxes for that quarter, but Emery LLP had overpaid employment taxes

in the same amount. The tax court found that Emery PC established a claim to setoff the

underpayment by crediting it against the overpayment. However, that claim was time barred by

the expiration of the period of limitations provided in Section 6511. As such, Emery PC sought to

rely on the doctrine of equitable recoupment, which the tax court described, as follows:

       As a general rule, the party claiming the benefit of an equitable recoupment defense
       must establish that it applies. See Menard, Inc. v. Commissioner, 130 T.C. at 62;
       Estate of Mueller v. Commissioner, 101 T.C. 551, 556 (1993). To establish that
       equitable recoupment applies, a party must establish the following elements: (1) the
       overpayment or deficiency for which recoupment is sought by way of offset is
       barred by an expired period of limitations; (2) the time-barred [*19] overpayment
       or deficiency arose out of the same transaction, item, or taxable event as the
       overpayment or deficiency before the Court; (3) the transaction, item, or taxable
       event has been inconsistently subjected to two taxes; and (4) if the transaction, item,
       or taxable event involves two or more taxpayers, there is sufficient identity of
       interest between the taxpayers subject to the two taxes that the taxpayers should be
       treated as one. See Dalm, 494 U.S. at 604–605; Menard, Inc. v. Commissioner, 130
       T.C. at 62–63; Estate of Branson v. Commissioner, 113 T.C. 6, 15 (1999), aff'd,
       264 F.3d 904 (9th Cir. 2001). (Emphasis added.) Id., at Page 5.

After considering these elements, the Tax Court found that Emery PC established the existence of

a time-barred overpayment of employment taxes, as required for the taxpayer to receive an offset

under the equitable recoupment doctrine, holding:

       We conclude, on the basis of all the facts and circumstances, that Emery PC
       exercised ordinary business care and prudence to ensure that a Form 941 for [*33]
       1Q 1999 was timely filed and its employment taxes were paid. The paramount
       factor in this case is that a return was timely filed and the employment taxes were
       timely paid with respect to the wages at issue, albeit under an incorrect EIN. In

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        these circumstances we hold that Emery PC's failure to timely file a Form 941, pay
        the tax reported thereon, and deposit its employment taxes for 1Q 1999 was due to
        reasonable cause and not willful neglect. Accordingly, Emery PC is entitled to
        abatement of the section 6651(a)(1) and (2) additions to tax and the section 6656(a)
        penalty that respondent assessed and now seeks to collect. Id., at Page 10.

        The Emery case is instructive for the present case, as it shows that a taxpayer’s entitlement

to a setoff, when available, shields the taxpayer from penalties and other legal consequences sought

by the government as a result of a tax deficiency, even though a formal claim for credit or refund

was not made timely.

        The Emery Court also explained how cases involving a taxpayer’s failure to pay

employment taxes are typically treated, and demonstrates that there are very adequate procedural

devices the IRS has at its disposal to collect employment tax losses, none of which involve criminal

recourse:

        Section 6331(a) authorizes the Secretary to levy upon the property and property
        rights of any person liable for taxes (taxpayer) who fails to pay those taxes within
        10 days after notice and demand for payment is made. Section 6331(d) and section
        6330(a) together provide that the levy authorized in section 6331(a) may be made
        with respect to any unpaid tax only if the Secretary has given written notice to the
        taxpayer 30 days before levy of the amount of the unpaid tax and of the taxpayer's
        right to a hearing.

        Most importantly, and consistent with Emery, supra, “the doctrine of setoff, whether legal

or equitable, is essentially a doctrine of equity, based on the principle that natural justice and equity

require that the demands of parties mutually indebted be setoff against each other and only the

balance recovered.” In re Braniff Airways, Inc., 42 B.R. 443, 449 (Bankr. N.D. Tex. 1984); 20

AM.JUR.2d Counterclaim, Recoupment, and Setoff §§ 7, 75.In the present case, arguably, Mr.

Hamdan and Mr. Mousa do not necessarily have to rely on the doctrine of equitable recoupment,

as their equitable right to setoff is not time-barred, as previously discussed. See: Missouri Pub.

Serv. Co. v. United States, 245 F. Supp. 954, 961 (W.D. Mo. 1965), aff'd, 370 F.2d 971, (8th Cir.



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1967) (“Both government and individual taxpayer have legal right to raise a setoff against each

other without having to appeal to court's discretion or to evaluation of particular equities.”)

         Based on the above authorities, there are multiple grounds for a statutory and/or justifiable

setoff, offset or credit, by operation of law, for the $5,222,675, amount of overpayments during

the period of the Indictment, against all tax losses and underpayments claimed by the government

in the Indictment, assumed to be $3,419,539.            The above authorities require it, and the

jurisprudential grounds of equity, equitable recoupment (Emery, supra, and Ray Braniff, supra),

and fundamental fairness, demand it. There is no defense, shield and bar under 26 U.S.C. 6511,

to such offset for failure to file for a refund. Even if a claim for a refund has expired, the equitable

principles requiring the offset survive without limitation.

         In addition to the legal and equitable entitlement for the credit and offset, Mr. Hamdan did,

in fact, consent, along with the IRS, to extend the time for his tax assessments, with the execution

of a Form 872, “Consent to Extend the Time to Assess Tax,” for the year 2014, which operated to

extend the time requirements in 26 U.S.C. 6511, and may apply to preceding years under this form,

both legally and equitably. “Additionally, this agreement extends the period of limitations for

assessing any tax (including penalties, additions to tax and interest) relating to any amounts carried

over from the taxable year specified in paragraph (1) to any other taxable year(s).” (Form 872,

Paragraph 4.)

   II.      The Government Cannot, as a Matter of Law, Establish that Mr. Hamdan and
            Mr. Mousa Willfully Conspired to Unjustly Enrich Themselves and Others

         As a result of Mr. Hamdan’s overpayment and resulting statutory and equitable rights to

setoff, the government cannot establish the intent elements required for the tax offenses charged

in the Indictment against Mr. Hamdan and Mr. Mousa.




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         Federal courts have consistently held that federal criminal tax offenses require the

government to prove criminal “willfulness,” to satisfy the element of specific intent . In this case,

the Indictment alleges “the purpose and object of the conspiracy was for the defendants and co-

conspirators to unjustly enrich themselves and others by under-reporting wages paid to employees

of Brothers Food Mart and to avoid the assessment and payment of employment taxes…” (Id., at

Page 9) (emphasis added). The government’s ability to demonstrate the requisite element of

“willfulness” is vitiated by evidence that Mr. Hamdan voluntarily overpaid his income taxes to

such an extent that the government actually owes him a substantial refund. It is not possible to

show that Mr. Hamdan and Mr. Mousa “voluntarily and intentionally” evaded a known duty by

Brothers Petroleum to pay employment taxes when the evidence clearly shows that Mr. Hamdan

voluntarily overpaid his income taxes, by treating the cash payments to workers as owners’

distributions, and, thus, having the payments taxed at Mr. Hamdan’s much higher individual tax

rate (as compared to the individual tax rates of the managers and employees to whom cash

payments were made).

III.     The Government Should Be Estopped From Pursuing Counts 2 through 72 Because
         Any Conviction Therefrom Would Violate Mr. Hamdan’s and Mr. Mousa’s
         Constitutional Rights and Principles of Equity and Fairness

         By enacting the statutes discussed above, the government has assured the taxpayer, who

underpays one tax, but overpays another, that his overpayment will exonerate him “against any

liability in respect of an internal revenue tax.” 26 U.S.C. § 6402. Those same laws also guarantee

this taxpayer compensation in the event a balance remains after the underpayment is satisfied. In

the instant case, Mr. Hamdan and Mr. Mousa have shown unequivocally they belong to that class

of taxpayers who is entitled to both setoff and refund. As such, the Internal Revenue Code assured

them protection, and even compensation, under 26 U.S.C. §§ 6402 and 6511.                  In direct



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contravention of these laws, the government now seeks to hold Mr. Hamdan and Mr. Mousa

criminally responsible for the same conduct for which the government previously assured them

the promise of protection and compensation under the law. The doctrine of equitable estoppel

applies against the government in cases like this where the government misrepresents to an

individual that he will not be punished for certain conduct, but then seeks to punish that individual

for engaging in that same conduct. Federal courts, including the Supreme Court, have held that

such actions violate the individual’s due process rights and rights to due a fair trial and effective

assistance of counsel, under the Fifth and Sixth Amendments of the Constitution.

       A good illustration of the doctrine of equitable estoppel occurred in Cox v. State of La., 85

S.Ct. 476 (1965). In that case, a city’s police officials told a group of African American protesters

led by the defendant that they could hold a demonstration across the street from a courthouse, 101

feet from courthouse steps, but could not meet any closer, based on a Louisiana statute prohibiting

picketing “near” state court building. See: LSA-R.S. 14:401. “In effect, appellant was advised that

a demonstration at the place it was held would not be one ‘near’ the courthouse within the terms

of the statute.” Supra at 571. In accordance with police instructions, the protestors assembled

along a sidewalk 101 feet away from the courthouse. After defendant spoke to the protestors,

police officials ordered the crowd to disperse. Based on defendant’s refusal to obey the order, he

was arrested and convicted of “disturbing the peace” and “obstructing a public passage”. Supra at

478. The State contended that its order to disperse somehow removed the prior grant of permission.

The Supreme Court rejected the State’s argument, holding that any resulting conviction under

these circumstances constitutes a violation of Due Process:

       …under all the circumstances of this case, after the public officials acted as they
       did, to sustain appellant's later conviction for demonstrating where they told him
       he could ‘would be to sanction an indefensible sort of entrapment by the State—
       convicting a citizen for exercising a privilege which the State had clearly told him

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         was available to him.’ Id., at 426, 79 S.Ct., at 1260. The Due Process Clause does
         not permit convictions to be obtained under such circumstances. Supra at 484
         (emphasis added).

         The Fifth Circuit has observed, “[i]t is well settled that the doctrine of equitable estoppel,

in proper circumstances, and with appropriate caution, may be invoked against the United States

in cases involving internal revenue taxation.”10 When the IRS challenged the Fifth Circuit’s

observation in Fredericks v. Comm'r, 126 F.3d 433, 435 (3d Cir. 1997), the Third Circuit took the

IRS to task, citing some sixteen cases where the doctrine had been applied against the IRS

specifically in tax cases and noted other cases in which the doctrine had been applied against other

federal agencies:

         The Supreme Court has not directly met the issue whether estoppel against the IRS may be
         appropriate in certain circumstances. However, contrary to counsel for the Commissioner's
         emphatic statement at oral argument that in no case has estoppel been asserted successfully
         against the IRS, this court and others have applied the doctrine of estoppel to the IRS under
         various circumstances. In Walsonavich v. United States, 335 F.2d 96 (3d Cir.1964), we
         held that the IRS was estopped from asserting the statute of limitations as a defense to a
         taxpayer's claim for a refund where the government and taxpayer had entered a written
         agreement extending the statute of limitations. See also Miller v. United States, 500 F.2d
         1007 (2d Cir.1974) (IRS estopped from relying on a statute of limitations contained in a
         previously signed waiver-of-notice form as a bar to taxpayer's refund claim, where the IRS
         had erroneously disregarded the waiver, unnecessarily issued the notice to taxpayer and,
         pursuant to the notice, the statute of limitations had not run); Staten Island Hygeia Ice &
         Cold Storage Co. v. United States, 85 F.2d 68 (2d Cir.1936) (equitable relief available
         against IRS where erroneous advice induced taxpayer to enter agreement with IRS waiving
         future claims for refund); Schuster v. Commissioner, 312 F.2d 311 (9th Cir.1962) (IRS
         estopped from correcting prior erroneous determination of estate tax where bank relied on
         that determination and disposed of the affected assets); Time Oil Co. v. Commissioner, 258
         F.2d 237 (9th Cir.1958) (IRS estopped from recouping tax advantages obtained by
         employer where default was in part triggered by Commissioner); United States v. Brown,
         86 F.2d 798, 799 (6th Cir.1936) (IRS, after exercising choice to pursue one of two available
         remedies while letting alternative theory “slumber in the files,” is bound by that choice and
         cannot later pursue the inconsistent alternative remedy); Woodworth v. Kales, 26 F.2d 178
         (6th Cir.1928) (avoiding direct estoppel ruling, but holding that Commissioner and his
         successors cannot reopen, reconsider and assess taxpayer's return—even within the statute

10
  Simmons v. United States, 308 F.2d 938, 945 (5th Cir. 1962) citing Joseph Eichelberger & Co. v. Commissioner,
5 Cir., 1937, 88 F.2d 874 (5th Cir., 1937); Perkins et al. v. Thomas, Collector, 86 F.2d 954 (5 Cir., 1937), affirmed,
301 U.S. 655, 57 S.Ct. 911, 81 L.Ed. 1324. And cf. Stockstrom v. Commissioner, 1951, 88 U.S.App.D.C. 286, 190
F.2d 283, 30 A.L.R.2d 443 (emphasis added).

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           of limitations period—once an initial valuation of certain stock had been made and
           indirectly confirmed by two subsequent commissioners); [Remaining citations omitted]
                                                  *     *      *
           The IRS is not the only federal agency against which courts have applied the doctrine of
           estoppel. Case law demonstrates that courts have invoked estoppel against the Post Office
           Department, the Department of Housing and Urban Development, the Land Management
           Office, the Postal Service, the Parole Commission, the Farmer's Home Administration, the
           War Department, the Department of Interior, the Department of Commerce and Labor and
           the General Land Office.3 This plethora of precedent suggests that “[i]t is well settled
           that the doctrine of equitable estoppel, in proper circumstances, and with appropriate
           caution, may be invoked against the United States in cases involving internal revenue
           taxation,” and in a variety of other contexts. Fredericks v. Comm'r, supra at 447–48 (3d
           Cir. 1997) citing.Simmons v. United States, 308 F.2d 938, 945 (5th Cir.1962) (emphasis
           added).

           As the Fifth Circuit has noted, “in order for equitable estoppel to apply, the party seeking

estoppel must establish five things: (1) affirmative misconduct by the government, (2) that the

government was aware of the relevant facts and (3) intended its act or omission to be acted upon,

(4) that the party seeking estoppel had no knowledge of the relevant facts and (5) reasonably relied

on the government's conduct and as a result of his reliance, suffered substantial injury.” Knapp v.

U.S. Dep't of Agric., 796 F.3d 445, 461 (5th Cir. 2015).

           The “misconduct” in the present case is defined as the government’s failure or refusal to

apply and follow their own tax laws as described herein. The first element of affirmative

misconduct by the government is clearly met by the government’s affirmative enactment of laws

that expressly assure the taxpayer he may offset a tax underpayment with an overpayment, and

thereby discharge “any liability.” 26 U.S.C. §§ 6401, 6402 and 6511. Historically, litigants in the

Fifth Circuit have struggled with this element, because, as that Court noted, “to state a cause of

action for estoppel against the government, a private party must allege more than mere negligence,

delay, inaction, or failure to follow an internal agency guideline”11 and “[a]ffirmative misconduct



11 Fano, 806 F.2d at 1265; see also Peacock v. U.S., 597 F.3d 654, 661 (5th Cir.2010) (where the United States did not realize that a doctor who
had allegedly performed an operation negligently was not its employee for over a year, and upon discovering this information filed a successful


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requires an affirmative misrepresentation or affirmative concealment of a material fact by the

government.”12 However, there is no such impediment in the instant case, as the government’s

representation here is not merely one of negligence, delay, inaction or a failure to follow an internal

agency guideline, but rather one that required an affirmative act of Congress to be put into effect

as well as presentment to the President before being published and disseminated to the public.

Article 1, Section 7, Clause 2 of the United States Constitution sets forth the process required for

a bill to become a law.13 “It plainly requires ‘Every Bill’ to be passed by both Houses of Congress

and to be presented to the President for his approval.” United States v. Horner, 769 F. App'x 528,

533 (10th Cir. 2019), cert. denied, No. 19-5157, 2019 WL 4923074 (U.S. Oct. 7, 2019). It cannot

be disputed that such actions are affirmative acts taken by Congress. See: Consumer Energy

Council of Am. v. Fed. Energy Regulatory Comm'n, 673 F.2d 425, 466 (D.C. Cir. 1982) (“Congress

(or one house) ‘acts’ for purposes of this provision when it affirmatively passes some bill, order,

vote, or resolution that alters the substantive law…”); Williams v. Office of Chief Judge of Cook

Cty. Illinois, 839 F.3d 617, 625 (7th Cir. 2016) (where the Court gave as an example of affirmative

misconduct, a legislative enactment, providing: “The affirmative act must be made by the body

itself, such as by a legislative enactment”).




motion to dismiss plaintiff’s claims against it, “[w]hile the length of time it took for this information to come to light was unreasonably long, this
is not an indication of willful misconduct on the Government’s part. Thus, the district court did not abuse its discretion in rejecting Peacock’s
argument that the Government should be judicially estopped from claiming that Dr. Warner was an independent contractor.”).
12 Robertson-Dewar v. Holder, 646 F.3d 226, 229 (5th Cir. 2011) (internal marks omitted) (quoting Linkous v. U.S., 142 F.3d 271, 278 (5th
Cir.1998)); Moosa v. I.N.S., 171 F.3d 994, 1004 (5th Cir.1999) (internal marks omitted) (quoting Linkous, 142 F.3d at 278)).
13
     U.S. Const. art. I, § 7, cl. 2 provides, in pertinent part:
           Every Bill which shall have passed the House of Representatives and the Senate, shall, before it
           become a Law, be presented to the President of the United States; If he approve he shall sign it,
           but if not he shall return it, with his Objections to that House in which it shall have originated,
           who shall enter the Objections at large on their Journal, and proceed to reconsider it…



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       Like the affirmative act of the police officials in Cox, supra, wherein they advised

protestors that a demonstration at that location would not be one ‘near’ the courthouse within the

terms of that state statute, the government here assured taxpayers, such as Mr. Hamdan and Mr.

Mousa, that they could safely use any overpayment to offset an underpayment made within the

same tax period.     In both cases, the government’s representations, although not inherently

inaccurate, later become so by virtue of the government’s subsequent change in position to seek

punitive action. As the Cox Court put it, convictions against Defendants in these circumstances

“would be to sanction an indefensible sort of entrapment by the State.” Supra at 571.

       The second element, that the government was aware of the relevant facts, is also clearly

met. As discussed, prior to the filing of the Indictment, counsel for Mr. Hamdan, on numerous

occasions, by letter and in discussions, notified the government of Mr. Hamdan’s overpayment of

taxes, and the amounts of credits and offsets due as a result.           Counsel has also provided

documentary evidence and given the government free access to Defendants’ CPA to explain when,

where and how the overpayment took place. In response, the government was unable, or unwilling,

to produce evidence to contradict or call these facts into question. But, rather than accept the

weakness of its case, and turn its attention to a case where the government actually sustained a tax

loss, the government proceeded with the filing of its Indictments with full knowledge of Mr.

Hamdan’s overpayment.

       The third element, that the government intended its act or omission to be acted upon, is

also clearly met. This element should go without saying, since the government’s representation

here literally required an act of Congress to bring the setoff laws into effect. If Congress did not

intend for the laws to be acted on, why would it go to trouble of drafting, revising, then voting on

the bill, then presenting it to the President for passage into law? It cannot be disputed that Congress



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intended for a person in Mr. Hamdan’s alleged position, i.e. one who has substantially overpaid

his one tax, but underpaid another, to be able to use his overpayment to setoff any underpayment

that might exist.

       Similarly, the fourth and fifth elements, that (4) the party seeking estoppel had no

knowledge of the relevant facts and (5) reasonably relied on the government's conduct and as a

result of his reliance, suffered substantial injury, are both clearly met and will be addressed

together, since they make up the “reliance” element of the doctrine. See: Fredericks v. Comm'r,

126 F.3d 433, 442 (3d Cir. 1997). Courts have sustained this “reliance” element in circumstances

similar to those at bar where a defendant relied on the government’s declaration of law or

regulations. For instance, in United States v. Lazy FC Ranch, 481 F.2d 985 (9th Cir. 1973), the

partners of a ranch entered into Acreage Reserve and Conservation Reserve contracts with the

United States. At that time, published regulations permitted the arrangement in question. As the

Ninth Circuit noted, the agency’s published regulations in effect at the time the contracts were

entered into “did not preclude this type of arrangement” and “arguably permitted this type of

arrangement”. Id., at 987 and 981. However, the regulations were subsequently amended to

explicitly disapprove the leasing of partnership land by partners as a means of avoiding the Soil

Bank maximum payment limitations. Based, in part, on the regulations’ previous approval of this

arrangement, the Court held:

       At the time the partners entered into the contracts, even the agency's published
       regulations arguably permitted this type of arrangement. Moreover, not only did the
       partners rely on the government's approval of their contracts but after 1958 the
       Ranch requested permission to terminate the contracts. At this time, the more
       complete regulations had been published and it was clear that the arrangement was
       improper, but the government never apprised the partnership of this, and in fact
       refused permission to terminate the agreements. Supra at 985.




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        The instant case is closely analogous to Lazy FC Ranch, supra. Mr. Hamdan’s CPA, who

has been acting on Mr. Hamdan’s behalf in the preparation of his taxes roughly since 2008, was

aware of a taxpayer’s ability to claim setoff, and believed Mr. Hamdan could avail himself of that

protection in the event he underpaid one tax, but overpaid another. Although he had no knowledge

of the “relevant facts” (i.e. the fourth element), he, nonetheless, relied on the government’s express

assurances of protection under the setoff law discussed above (i.e. the fifth element). Therefore,

like the ranch partners in Lazy FC Ranch, who relied, in part, on regulations permitting the

contractual arrangement in that case, Mr. Hamdan in the instant case, through his CPA, relied on

setoff law for protection from both civil and criminal culpability in the event he underpaid one tax,

but overpaid another in the same tax period. However, the government misrepresentations in the

instant case are even more egregious than those in Lazy FC Ranch, supra. Unlike the regulations

at issue in Lazy FC Ranch, supra, which were amended to support the government’s change in

position in that case, in the instant case, the law that permits setoff is still in effect. Even after the

overpayment was brought to the government’s attention, the government buried its head in the

sand with respect to its previous assurances about overpayments and continued to pursue criminal

charges against Mr. Hamdan. Applying Cox, supra, to the instant case, any conviction that results

against Defendants, in these circumstances, will trample on Defendants’ due process rights under

the Fifth Amendment of the Constitution.

        IV.     The Doctrine of Unjust Enrichment Bars Prosecution of this Case

        Defendants further contend that the doctrine of unjust enrichment shields them from any

criminal responsibility, including restitution, sought by the government in this case. Although

typically asserted as a claim, rather than a defense, the principle of unjust enrichment is fitting as

a defense under the unique circumstances of this case and Defendants are not aware of any law



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that prohibits its use as a defense. Courts have recognized the government’s right to use offset as

a defense to prevent unjust enrichment in cases where the period of limitations for assessing taxes

has long expired. In Bailey v. United States, No. 122-77, 1997 WL 759654, at *75 (Fed. Cl. Sept.

30, 1997), the Federal Claims Court permitted the government to use offset as a defense to a

taxpayer’s claims for refund more than ten years after the plaintiff filed his claims and over twenty

years from the actual tax years at issue in that case, providing:

        The right of allowing an offset under these situations is an equitable right given to
        the government based on the equitable principles and, as such, should not be
        abused. If properly used, it should provide the government with a ‘shield’ to prevent
        the unjust enrichment of a taxpayer, but if used as a ‘sword’ it would under certain
        circumstances have the contrary effect.

Supra at *74 (emphasis added).14 Fundamental fairness and equity, therefore, demand that, if the

government can assert offset as a defense to prevent unjust enrichment of the taxpayer, without

regard to any period of limitations, then certainly a taxpayer would be afforded the same as a

defense. Applied to the instant case, any criminal conviction and/or restitution ordered against

Defendants on Counts 2 through 72 would only contribute to the windfall received to date by the

government and, thus, the principle of unjust enrichment prohibits such actions.

        The United States District Court for the Eastern District of Louisiana, has held that the five

elements required for a showing of unjust enrichment are: (1) there must be an enrichment, (2)

there must be an impoverishment, (3) there must be a connection between the enrichment and the

impoverishment, (4) there must be an absence of justification or cause for the enrichment and

impoverishment, and (5) there must be no other remedy at law available to plaintiff. U.S. ex rel.




14
  See also: Doko Farms v. United States, 956 F.2d 1136 (Fed.Cir.1992); Missouri Pac. R. Co. v. United States, 338
F.2d 668, 672 (Ct. Cl. 1964)

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T&C Dirtworks, Inc. v. L&S-CKY JV, No. CIV.A. 10-985, 2011 WL 1192944, at *5 (E.D. La.

Mar. 28, 2011). The evidence previously discussed shows the government has been enriched by

Mr. Hamdan’s overpayment, and, conversely, served as an impoverishment to him. After an offset

of any underpayment that might exist, the government would be enriched in the amount of

$1,803,136 without any justification for keeping that sum of money. Furthermore, equitable relief

under the principle of unjust enrichment is not subject to any period of limitations. See: LW

Constr. of Charleston, LLC v. United States, 139 Fed. Cl. 254, 301 (2018), which applies by

analogy and in fairness, providing:

       As discussed above with regard to the futility of the government's proposed
       common law fraud counterclaim, the statute of limitations set forth in 28 U.S.C. §
       2501 only applies to claims brought against the government, not to counterclaims
       brought by the government, such as the government's proposed unjust enrichment
       counterclaim. See Rhoades v. United States, 222 Ct. Cl. at 613; see also Dugan &
       McNamara, Inc. v. United States, 130 Ct. Cl. at 611, 124 F.Supp. at 652. Therefore,
       the statute of limitations set forth in 28 U.S.C. § 2501 does not apply to the
       government's proposed unjust enrichment counterclaim.

                                         CONCLUSION

       How can the government prevail in seeking criminal responsibility for a tax underpayment

when the evidence clearly shows an overpayment to the same agency of the government? The

reality is that Mr. Hamdan’s income tax overpayment, and resulting setoff to which he is entitled,

foreclose the government’s ability to show a willful failure on the part of Mr. Hamdan and Mr.

Mousa, through Brothers Petroleum, to collect and pay over employment taxes that occurred

during the same tax periods. That all agencies of the government constitute one governmental

entity for purposes of setoff suggests that any tax underpayment in the same period as an

overpayment has de minimis effect on the government and amounts to no more than an error in the

labeling of different kinds of taxes. The setoff laws and principles of equity and fundamental

fairness are available to protect taxpayers such as Defendants and apply in cases where a taxpayer’s

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actions, while arguably and technically incorrect, do not cause harm to the government. As such,

this Court must apply these laws and order the dismissal of Counts 2 through 72 against

Defendants.

                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing pleading has been served upon
counsel of record by filing same in this Court’s CM/ECF System this 15th day of November,
2019.

                                             /s/ Edward J. Castaing, Jr.




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